       Case 2:12-md-02323-AB Document 6257-5 Filed 10/24/14 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE           : No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION INJURY                :
LITIGATION                                : MDL No. 2323
__________________________________________:
                                          : Hon. Anita B. Brody
THIS DOCUMENT RELATES TO:                 :
                                          :
ALL ACTIONS                               :
__________________________________________:

                                      PROPOSED ORDER

       AND NOW THIS ________ day of _________________, 2014 upon consideration of

Co-Lead Class Counsel’s Motion for an Order Prohibiting Improper Communications with the

Class by MoloLamken, LLP it is hereby ORDERED that said motion is GRANTED.

MoloLamken, LLP is hereby ordered to cease and desist all improper communications with class

members through the use of the website www.nflconcussionsettlementfacts.com. MoloLamken

is further ordered to either take down the website, www.nflconcussionsettlementfacts.com, or

submit an affidavit declaring under penalty of perjury that none of the lawyers from that firm, or

its co-counsel, had any involvement with the registering, maintaining or providing content to that

website, and that their clients have been instructed to remove any links to the firm’s website.


                                              SO ORDERED



                                              ________________________________________
                                                                                  J.
